                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:12-00076
                                                      )       JUDGE CAMPBELL
ALLEN WALKER, et al.                                  )

                                              ORDER

       Pending before the Court is Defendant Jason Powell’s Motion To Strike All Pre-Trial

Motions And To Stay Evidentiary Hearing (Docket No. 257). Through the Motion, Defendant

Jason Powell seeks to strike his motions filed at Docket Nos. 239, 240, 241, 242, and 243, and

cancel the evidentiary hearing scheduled for October 3, 2013. The Motion is GRANTED.

       To the extent any Co-Defendant who joined in Defendant Jason Powell’s motions still

seeks the relief requested in the motions, he or she shall file their own motions.

       It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00076         Document 258        Filed 10/03/13      Page 1 of 1 PageID #: 834
